                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


UNITED STATES OF AMERICA                  )
                                          )
v.                                        )       NO. 3:09-00240-2
                                          )       JUDGE CAMPBELL
FAITH READUS                              )


                                         ORDER


     The status conference set for January 24, 2013 is rescheduled for 10:00 a.m.

     IT IS SO ORDERED.



                                                  __________________________________
                                                  TODD J. CAMPBELL
                                                  UNITED STATES DISTRICT JUDGE




Case 3:09-cr-00240     Document 1719          Filed 01/22/13   Page 1 of 2 PageID #: 6659
                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


UNITED STATES OF AMERICA                  )
                                          )
v.                                        )       NO. 3:09-00240-2
                                          )       JUDGE CAMPBELL
FAITH READUS                              )


                                         ORDER


     The status conference set for January 24, 2013 is rescheduled for 10:00 a.m.

     IT IS SO ORDERED.



                                                  __________________________________
                                                  TODD J. CAMPBELL
                                                  UNITED STATES DISTRICT JUDGE




Case 3:09-cr-00240     Document 1719          Filed 01/22/13   Page 2 of 2 PageID #: 6660
